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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a            §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                           §
                                       §
            Plaintiff,                 §
                                       §
      v.                               § NO. 6:20-CV-533-ADA
                                       §
HUAWEI TECHNOLOGIES CO. LTD.,          §
ET AL.                                 §
                                       §
            Defendants.                §
_________________________________________________________________
WSOU INVESTMENTS, LLC d/b/a            §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                           §
                                       §
            Plaintiff,                 §
                                       §
      v.                               § NO. 6:20-CV-534-ADA
                                       §
HUAWEI TECHNOLOGIES CO. LTD.,          §
ET AL.                                 §
                                       §
            Defendants.                §
_________________________________________________________________
WSOU INVESTMENTS, LLC d/b/a            §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                           §
                                       §
            Plaintiff,                 §
                                       §
      v.                               § NO. 6:20-CV-535-ADA
                                       §
HUAWEI TECHNOLOGIES CO. LTD.,          §
ET AL.                                 §
                                       §
            Defendants.                §
_________________________________________________________________




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WSOU INVESTMENTS, LLC d/b/a            §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                           §
                                       §
            Plaintiff,                 §
                                       §
      v.                               § NO. 6:20-CV-536-ADA
                                       §
HUAWEI TECHNOLOGIES CO. LTD.,          §
ET AL.                                 §
                                       §
            Defendants.                §
_________________________________________________________________
WSOU INVESTMENTS, LLC d/b/a            §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                           §
                                       §
            Plaintiff,                 §
                                       §
      v.                               § NO. 6:20-CV-537-ADA
                                       §
HUAWEI TECHNOLOGIES CO. LTD.,          §
ET AL.                                 §
                                       §
            Defendants.                §
_________________________________________________________________
WSOU INVESTMENTS, LLC d/b/a            §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                           §
                                       §
            Plaintiff,                 §
                                       §
      v.                               § NO. 6:20-CV-538-ADA
                                       §
HUAWEI TECHNOLOGIES CO. LTD.,          §
ET AL.                                 §
                                       §
            Defendants.                §
_________________________________________________________________




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WSOU INVESTMENTS, LLC d/b/a            §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                           §
                                       §
            Plaintiff,                 §
                                       §
      v.                               § NO. 6:20-CV-539-ADA
                                       §
HUAWEI TECHNOLOGIES CO. LTD.,          §
ET AL.                                 §
                                       §
            Defendants.                §
_________________________________________________________________
WSOU INVESTMENTS, LLC d/b/a            §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                           §
                                       §
            Plaintiff,                 §
                                       §
      v.                               § NO. 6:20-CV-540-ADA
                                       §
HUAWEI TECHNOLOGIES CO. LTD.,          §
ET AL.                                 §
                                       §
            Defendants.                §
_________________________________________________________________
WSOU INVESTMENTS, LLC d/b/a            §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                           §
                                       §
            Plaintiff,                 §
                                       §
      v.                               § NO. 6:20-CV-541-ADA
                                       §
HUAWEI TECHNOLOGIES CO. LTD.,          §
ET AL.                                 §
                                       §
            Defendants.                §
_________________________________________________________________




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WSOU INVESTMENTS, LLC d/b/a             §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                            §
                                        §
             Plaintiff,                 §
                                        §
      v.                               § NO. 6:20-CV-542-ADA
                                        §
HUAWEI TECHNOLOGIES CO. LTD.,           §
ET AL.                                  §
                                        §
             Defendants.                §
_________________________________________________________________
WSOU INVESTMENTS, LLC d/b/a             §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                            §
                                        §
             Plaintiff,                 §
                                        §
      v.                               § NO. 6:20-CV-543-ADA
                                        §
HUAWEI INVESTMENT & HOLDING             §
CO., LTD.,                              §
                                        §
             Defendants.                §
                                        §
_________________________________________________________________
WSOU INVESTMENTS, LLC d/b/a             §
BRAZOS LICENSING AND                   §
DEVELOPMENT,                            §
                                        §
             Plaintiff,                 §
                                        §
      v.                               § NO. 6:20-CV-544-ADA
                                        §
HUAWEI INVESTMENT & HOLDING             §
CO., LTD.,                              §
                                        §
             Defendants.                §
       _________________________________________________________________

     HUAWEI’S IDENTIFICATION OF CLAIM TERMS FOR CONSTRUCTION

      Pursuant to the Court’s Version 3.2 of the Court’s Order Governing Proceedings and the

Court’s Scheduling Order entered November 9, 2020, Defendants’ hereby notify the Court that


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Defendants have served its proposed claim terms for construction on Plaintiff WSOU Investments

LLC. via electronic mail on December 21, 2020.

Dated: December 22, 2020                     Respectfully submitted,

                                             /s/ Jason W. Cook
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                                             Counsel for Defendants Huawei Technologies
                                             Co., Ltd., Huawei Technologies USA, Inc.,
                                             Huawei Device Co. Ltd. (f/k/a Huawei Device
                                             (Dongguan) Co.), Huawei Device (Shenzhen) Co.,
                                             Ltd. (f/k/a Huawei Device Co. Ltd.) and Huawei
                                             Device USA




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                               CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that on December 22, 2020, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.



                                                    /s/ Jason W. Cook
                                                    Jason W. Cook
